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                                                                            HIED
                                                                               DEC 1 4 022
                        IN THE UNITED STATES DISTRICT COURT r|eri{ 0 s Wstrict Coutt
                         FOR THE EASTERN DISTRICT OF TEXAS Texas Eastern
                                      TYLER DIVISION

  UNITED STATES OF AMERICA                     §
                                               §       No. 6:22-CR-22
  V.                                           §       JUDGE JDK/JDL
                                               §
  PETER J. BENNETT (01)                        §
                          FIRST SUPERSEDING INDICTMENT

  THE UNITED STATES GRAND JURY CHARGES:

                                     General Allegations

         At all times relevant to this Indictment:

         The Defendant and Associated Companies and Individuals

         1. Peter J. Bennett resided in or around Houston, Texas.


         2. Peter J. Bennett, P.C., was a Texas company. Formed on December 28,


  2012, the company is currently active.

         3. Robert O Neal resided in or around Beaumont, Texas.


         4. Stephen Kash resided in or around Beaumont, Texas, and Wir ie, Texas.

         5. Individual 1 resided in or around Lumberton, Texas.

         6. Tree Pool, LLC (Tree Pool), was a Texas company. Formed on April 4,

  2016, the company is currently active. The Water Buffalo Irrevocable Trust was the

  managing member. Peter J. Bennett was the registered agent.

         7. The Water Buffalo Irrevocable Trust was a Texas trust created on April 5,

  2016. According to the trust agreement, Peter J. Bennett was the settlor and trustee, and




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  Peter J. Bennett and Individual 1 were the beneficiaries of the trust. In truth and in fact,

  the trust was created for the benefit of Robert O Neal.

         8. Tigerlily LLC was a Texas company. Formed on December 9, 2016, the

  company is currently active. The Tigerlilly Irrevocable Trust was the managing member.

         9. The Tigerlilly I revocable Trust was a Te as trust created on December 28,

  2016. According to the trust agreement, Peter J. Bennett was the settlor and trustee, and

  Peter J. Bennett and Individual 1 were the beneficiaries of the trust. In truth and in fact,

  the trust was created for the benefit of Stephen Kash.

         10. Ascend Professional Consulting, Inc. (APC), was a Texas company.

  Formed on August 21, 2015, the company is currently inactive. The company began to

  operate as Ascend Professional Management, Inc. (APM) on October 9, 2015. APM is

  also currently inactive. Individual 1 was a principal of both companies. The companies

  were operated from Beaumont, Texas, in the Eastern District of Texas.


         11. BenefitPro Consulting, LLC (BenefitPro), was a Texas limited liability

  company. Formed on April 28, 2016, the company is currently inactive. APM was the

  Managing Member. The company was operated from Beaumont, Texas, in the Eastern

  District of Texas.

         Financial Institutions

         12. JPMorgan Chase Bank, N.A. (JPMorgan) was a financial institution, as

  defined by Title 18, United States Code, Section 1956. It was based in New York, New

  York, within the Southern District of New York.




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         13. First Financial Bank, N.A. (First Financial) was a financial institution, as

  defined by Title 18, United States Code, Section 1956. It was based in Abilene, Texas,

 within the Northern District of Texas.




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                                           COUNT 1

                                                           Violation: 18U.S.C. § 1956(h)
                                                           (Conspiracy to Commit Money
                                                           Laundering)

         1. The General Allegations sections of this Indictment are realleged and

  incorporated by reference as though folly set forth herein.

         2. From on or about July 6, 2016, and continuing through on or about October

  23, 2018, the exact dates being unknown, in the Eastern District of Texas, and elsewhere,

  the defendant, Peter J. Bennett, did knowingly and willfully combine, conspire, and

  agree with Robert O Neal, Stephen Kash, and others, both known and unknown to the

  Grand Jury, to commit offenses against the United States in violation of 18 U.S.C. §§

  1956 and 1957, that is:

                a. to kno ingly conduct and attempt to conduct financial transactions

                        affecting interstate commerce and foreign commerce, which

                        transactions involved the proceeds of specified unlawful activity,

                        that is, illegal remunerations, a violation of 42 U.S.C. § 1320a-7b(b),

                        and conspiracy to commit illegal remunerations, a violation of 18

                        U.S.C. § 371, knowing that the transactions were designed in whole

                        and in part to conceal and disguise the nature, location, source,


                        ownership, and control of the proceeds of specified unlawful

                        activity, and that while conducting and attempting to conduct such

                        financial transactions, knew that the property involved in the




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                        financial transactions represented the proceeds of some form of


                        unlawful activity, in violation of 18 U.S.C. § 1956(a)(l)(B)(i); and

                b. to knowingly engage and attempt to engage, in monetary

                        transactions by, through, and to a financial institution, affecting

                        interstate and foreign commerce, in criminally derived property of a

                        value greater than $10,000, and such property having been derived

                        from a specified unlawful activity, that is, illegal remunerations, a

                        violation of 42 U.S.C. § 1320a-7b(b), and conspiracy to commit

                        illegal remunerations, a violation of 18 U.S.C. § 371, in violation of

                        18 U.S.C. § 1957.

                            Manner and Means of the Conspiracy


         The manner and means used to accomplish the objectives of the conspiracy

  included, among others, the following:

         3. Robert O Neal and Stephen Kash obtained proceeds and property derived

  from specified unlawful activity, namely a health care kickback conspiracy t rough

  which physicians were incentivized to make referrals to rural hospitals and affiliate labs

  in exchange for kickbacks which were disguised as investment returns; and in which

  marketers were incentivized to order, arrange for, or recommend the ordering of services


  from rural hospitals and affiliated labs in violation of the Anti-Kickback Statute.

         4. Peter J. Bennett laundered proceeds and property derived from specified

  unlawful activity on behalf of Robert O’Neal and Stephen Kash.




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         5. Peter J. Bennett created sham trusts and shell corporations and opened


 associated bank accounts through which he laundered the proceeds and property derived

 from specified unlawful activity (hereinafter kickback proceeds ).

         6. Peter J. Bennett advised his clients, Robert O Neal and Stephen Kash, that

 they would not have direct access to the funds nor visibility into the accounts.

         7. Peter J. Bennett utilized bank accounts established in various business

 names. The business names included Tree Pool, Water Buffalo Irrevocable Trust, and


 Tigerlilly Irrevocable Trust, among others.

           8. Peter J. Bennett also used his Interest on Lawyers Trust Account


  (IOLTA), his law firm operating account, and a personal bank account to launder the

  kickback proceeds.

           9. Peter J. Bennett and Individual 1 exchanged false and fraudulent invoices

  that were used to facilitate and conceal the money laundering conspiracy.

           10. On or about the following dates, Individual 1 wired kickback proceeds from

  APC (First Financial account ending in 4469) to Tree Pool (JPMorgan account ending in

  8678):

  Date           Amount              Originatin Bank/Acct        De ositin Bank/Acct

  10/14/16       $200,000.00         First Financial/4469        JPMorgan/8678
  11/7/16        $200,000.00         First Financial/4469        JPMorgan/8678
  11/14/16       $30,000.00          First Financial/4469        JPMorgan/8678
  12/29/16       $1,008,666.00       First Financial/4469        JPMorgan/8678




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         11. On or about the following dates, Individual 1 wired kickback proceeds from

  BenefitPro (First Financial account ending in 7031) to Tree Pool:

  Date         Amount Ori inatin Bank/Acct Depositing Bank/Acct

  12/26/17      $360,439.70 First Financial/7031 JPMorgan/8678
  12/29/17      $62,601.01 First Financial/7031 JPMorgan/8678

         12.    On or about the following date, Individual 1 wired kickback proceeds from

  APC (First Financial account ending in 4469) to Tigerlilly Irrevocable Trust (JPMorgan

  account ending in 1265):

  Date          Amount Originating Bank/Acct Depositing Bank/Acct

. 12/29/16      $191,334.00 First Financial/4469 JPMorgan/1265

         13.    On or about the following dates, Individual 1 wired kickback proceeds from

  BenefitPro (First Financial account ending in 7031) to Tigerlilly Irrevocable Trust:

  Date          Amount Originating Bank/Acct De ositing Bank/Acct

  12/29/16      $248,000.00 First Financial/7031 JPMorgan/1265
  12/26/17      $360,439.70 First Financial/7031 JPMorgan/1265

         14.    On or about the following dates, Peter J. Bennett transferred kickback

  proceeds from Tree Pool to the Water Buffalo Irrevocable Trust (JPMorgan account

  ending in 2321):

  Date          Amount Originating Bank/Acct Depositing Bank/Acct

  10/21/16      $200,000.00 JPMorgan/8678 JPMorgan/2321
  11/15/16      $200,000.00 JPMorgan/8678 JPMorgan/2321
  12/29/16      $1,009,666.00 JPMorgan/8678 JPMorgan/2321
  1/2/18        $150,000.00 JPMorgan/8678 JPMorgan/2321




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         15. Peter J. Bennett transferred kickback proceeds for the benefit of Robert

  O Neal, as follows:

            a. From on or about November 22, 2016, and continuing through on or about
                July 27, 2017, Peter J. Bennett wrote checks and authorized wire transfers
                from the Water Buffalo Irrevocable Trust account totaling $310,281.38 to
                Company 1, a custom home builder in Beaumont, Texas, for renovations on
                Robert O Neal’s home, as follows:

                Date Amount Originating Bank/Acct Transaction Type

                11/22/16     $54,549.00    JPMorgan/2321              Wire
                1/12/17      $80,027.17    JPMorgan/2321              Check #1002
                2/8/17       $17,748.77    JPMorgan/2321              Wire
                3/9/17       $81,015.41    JPMorgan/2321              Wire
                5/10/17      $66,035.31    JPMorgan/2321              Wire
                7/27/17      $10,905.72    JPMorgan/2321              Check #1011

            b. On or about May 17, 2017, Peter J. Bennett wrote a check to himself from
               the Water Buffalo Irrevocable Trust account, deposited the check into his
               Peter J. Bennett, P.C. account (JPMorgan account ending in 3670), and then
               wrote a check in the same amount payable to Company 1 from his PC
                account, as follows:
                                                                      Depositing
                                                    Bank/Acct or
                Date Amount Originating Bank/Acct Destination

                5/17/17 $3,893.00 JPMorgan/2321                       JPMorgan/3670
                5/17/17 $3,893.00 JPMorgan/3670                       Check #5788

            c. On or about February 8, 2017, Peter J. Bennett withdrew funds from the
                Water Buffalo Irrevocable Trust account to purchase a cashier s check from
                JPMorgan payable to Company 2, a luxury automobile dealership in
               Houston, Texas, for the purchase of a 2014 Mercedes E350 titled in the
                name of Robert O’Neal, as follows:

                Date Amount Originating Bank/Acct Destination

                2/8/17 $32,027.28 JPMorgan/2321                       JPMorgan
                                                                      CC#9534508392

                2/8/17        $32,027.28   JPMorgan                   Company 2
                                           CC#9534508392
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            d. On or about December 6, 2017, Peter J. Bennett transferred kickback
               proceeds from the Water Buffalo Irrevocable Trust account and from the
               Tigerlilly Irrevocable Trust account through other financial accounts,
                including his personal bank account (JPMorgan account ending in 5563)
               and his Peter J. Bennett, P.O. account, to Company 3, a company based in
               The Woodlands, Texas, in order to pay a settlement for the benefit of
               Robert O Neal, as follows:

                                                                      Depositing
                                                                      Bank/Acct or
               Date Amount Originating Bank/Acct                      Destination

                12/6/17 $55,000.00 JPMorgan/2321                      JPMorgan/5563
                12/6/17 $120,000.00 JPMorgan/1265                     JPMorgan/5563
                12/6/17 $150,000.00 JPMorgan/5563                     JPMorgan/3670
                12/6/17 $150,000.00 JPMorgan/3670                     Wire to Company 3

            e. On or about May 8,2018, Peter J. Bennett transferred kickback proceeds
               from the Water Buffalo Irrevocable Trust account and from the Tigerlilly
               Irrevocable Trust account through other financial accounts, including his
               personal bank account and his Peter J. Bennett, P.C. IOLTA trust account
                (JPMorgan account ending in 4037), to Company 3, in order to pay a
                settlement for the benefit of obert O Neal, as follows:

                                                                      Depositing
                                                           Bank/Acct or
                Date         Amount Ori inating Bank/Acct Destination

                5/8/18       $50,000.00 JPMorgan/2321 JPMorgan/5563
                5/8/18       $100,000.00 JPMorgan/1265 JPMorgan/5563
                5/8/18       $150,000.00 JPMorgan/5563 JPMorgan/4037
                5/8/18       $150,000.00 JPMorgan/4037 Wire to Company 3

         16. Peter J. Bennett transferred kickback proceeds for the benefit of Stephen

  Kash, as follows:

            a. On or about December 30, 2016, and on or about December 29, 2017,
                Peter J. Bennett wrote checks totaling $130,000.00 from the Tigerlilly
                Irrevocable Trust account to Entity 1, a church in Beaumont, Texas, as
                follows:



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                Date          Amount Originating Ba k/Acct Transaction Type

                 12/30/16 $66,000.00 JPMorgan/1265 Check #9991
                 12/29/17 $64,000.00 JPMorgan/1265 Check #104

             b. On or about November 10, 2017, Peter J. Bennett wrote a $16,000 check
                 from the Tigerlilly Irrevocable Trust account to Company 4, a contractor in
                Beaumont, Texas, for a construction project on Stephen Kash s property.

             c. On or about A ril 30, 2018, Peter J. Bennett withdre $99,064.02 from
                the Tigerlilly Irrevocable Trust account in order to purchase a cashier s
                check payable to Company 5, a title company in Chambers County, Texas,
                for the purchase of 525 Sth Street, Winnie, Texas 77665.

             d. On or about May 1, 2018, Peter J. Bennett withdrew $10,000 in cash from
                the Tigerlilly Irrevocable Trust account and provided it to Stephen Kash.

         All in violation of 18 U.S.C. § 1956(h).




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                                           COUNT 2

                                                           Violation: 18U.S.C. §371
                                                           (Conspiracy to Operate an
                                                           Unlicensed Money Transmitting
                                                           Business)

          1. The General Allegations sections of this indictment are realleged and

   incorporated by reference as though fully set forth herein.

          2. From on or about July 6, 2016, and continuing through on or about October

   23, 2018, the exact dates being unknown, in the Eastern District of Texas, and else here,

   the defendant, Peter J. Bennett, did knowingly and willfull combine, conspire, and

   agree with Robert O Neal, Stephen Kash, and others, both known and unknown to the

   Grand Jury, to commit offenses against the United States in violation of 18 U.S.C. §

   1960, that is:

              to knowingly conduct, control, manage, supervise, direct, or own all

              or part of an unlicensed money transmitting business which affected

              interstate or foreign commerce in some maimer or degree without an

              appropriate money transmitting license in a State where such

              operation is punishable as a misdemeanor or a felony under State

              law, whether or not the defendant knew that the operation was

              required to be licensed or that the operation was so punishable, or

              while failing to comply with the money transmitting business

              registration requirements under 31 U.S.C. § 5330 or regulations

              prescribed under that section.


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                                 Purpose of the Conspiracy


         3. It was the purpose of the conspiracy for the defendant to operate an

  unlicensed money transmitting business in order to unlawfully and unjustly enrich

  himself and his co-conspirators by transmitting funds on behalf of Robert O Neal and

  Stephen Kash.

                         Manner and Means of the Conspiracy


         The manner and means by which the defendant and his co-conspirators sought to

  accomplish the objects and purpose of the conspiracy included, among others, the

  following:

         4. To achieve the goals of the conspiracy, Peter J. Bennett operated an

  unlicensed money transmitting business.


         5. Peter J. Bennett operated an unlicensed money transmitting business

  without an appropriate money transmitting license in the State of Texas where such

  operation is punishable as a felony under State law.

         6. Peter J. Bennett failed to comply with the money transmitting business

  registration requirements under section 5330 of title 31, United States Code, and the

  regulations prescribed under such section.


         7. Peter J. Bennett created sham trusts and shell corporations and opened

  associ ted b nk accounts through which he transmitted money.

         8. Peter J. Bennett advised his clients, Robert O Neal and Stephen Kash, that

  they would not have direct access to the funds nor visibility into the accounts.



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         9. Peter J. Bennett utilized bank accounts established in various business

  names. The business names included Tree Pool, Water Buffalo Irrevocable Trust, and


  Tigerlilly Irrevocable Trust, among others.

          10. Peter J. Bennett also used his Interest on Lawyers Trust Account

   (IOLTA), his law firm operating account, and a personal bank account to transmit money.

          11. Peter J. Bennett and Individual 1 exchanged false and fraudulent invoices

  that were used to facilitate and conceal the nature of the money transmitting business.

          12. Peter J. Bennett opened and controlled bank accounts, under false and


   fictitious pretenses, in order to operate an unlicensed money transmitting business.

          13. Monies were deposited by Individual 1 into bank accounts under the

   control of Peter J. Bennett and were later transferred by Bennett at the direction of

   Robert O’Neal and Stephen Kash.

          14. Peter J. Bennett transmitted money on behalf of Robert O’Neal and

   Stephen Kash in order to pay bills, make payroll, pay business operating expenses, and

   make various purchases.

          15. Peter J. Bennett s unlicensed money transmitting business provided

   Robert O’Neal and Stephen Kash with a means to transfer money outside of the

   conventional financial institutions system.

          16. During and in furtherance of the conspiracy, Peter J. Bennett and others

   acting at his direction engaged in approximately 60 financial transactions involving more

   than $2,500,000.




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         17. Ultimately, Peter J. Bennett retained for his own benefit more than

  $850,000 of the funds that Robert O Neal and Stephen Kash had entrusted to him.

                                         Overt Acts

        In furtherance of the conspiracy and to achieve its objects and purpose, the

  following overt acts, among others, were committed in the Eastern District of Texas and

  elsewhere:

         18. On or about the following dates, Individual 1 wired funds from APC (First

  Financial account ending in 4469) to Tree Pool (JPMorgan account ending in 8678):

  Date Amount Ori inating Bank/Acct Depositing Bank/Acct

  10/14/16 $200,000.00              First Financial/4469        JPMorgan/8678
  11/7/16 $200,000.00               First Financial/4469        JPMorgan/8678
  11/14/16 $30,000.00               First Financial/4469        JPMorgan/8678
  12/29/16 $1,008,666.00            First Financial/4469        JPMorgan/8678

         19. On or about the following dates, Individual 1 wired funds from BenefitPro

  (First Financial account ending in 7031) to Tree Pool:

  Date Amount                       Originating Bank/Acct       Depositing Bank/Acct

  12/26/17 $360,439.70              First Financial/7031        JPMorgan/8678
  12/29/17 $62,601.01               First Financial/7031        JPMorgan/8678

         20. On or about the following date, Individual 1 wired funds from APC (First

  Financial account ending in 4469) to Tigerlilly Irrevocable Trust (JPMorgan account

  ending in 1265):

  Date Amount Originating Bank/Acct Depositing Bank/Acct

  12/29/16 $191,334.00 First Financial/4469 JPMorgan/1265



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         21. On or about the following dates, Individual 1 wired funds from BenefitPro

  (First Financial account ending in 7031) to Tigerlilly Irrevocable Trust:

  Date A ount Originatin Bank/Acct Depositing Bank/Acct

  12/29/16 $248,000.00               First Financial/7031 JPMorgan/1265
  12/26/17 $360,439.70               First Financial/7031 JPMorgan/1265

         22. On or about the following dates, Peter J. Bennett transmitted money from

  Tree Pool to the Water Buffalo Irrevocable Trust (JPMorgan account ending in 2321):

  Date Amount Originating Bank/Acct Depositin Bank/Acct

  10/21/16 $200,000.00               JPMorgan/8678               JPMorgan/2321
  11/15/16 $200,000.00               JPMorgan/8678               JPMorgan/2321
  12/29/16 $1,009,666.00             JPMorgan/8678               JPMorgan/2321
  1/2/18 $150,000.00                 JPMorgan/8678               JPMorgan/2321

         23. Peter J. Bennett transmitted money at the direction of Robert O Neal, as

  follows:

             a. From on or about November 22, 2016, and continuing through on or about
                 July 27, 2017, Peter J. Bennett wrote checks and authorized wire transfers
                 from the Water Buffalo Irrevocable Trust account totaling $310,281.38 to
                Company 1, a custom home builder in Beaumont, Texas, for renovations on
                Robert O Neal’s home, as follows:

                Date Amount Originatin Bank/Acct Transaction Type

                11/22/16      $54,549.00    JPMorgan/2321                Wire
                1/12/17       $80,027.17    JPMorgan/2321                Check #1002
                2/8/17        $17,748.77    JPMorgan/2321                Wire
                3/9/17        $81,015.41    JPMorgan/2321                Wire
                5/10/17       $66,035.31    JPMorgan/2321                Wire
                7/27/17       $10,905.72    JPMorgan/2321                Check #1011




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             b. On or about May 17, 2017, Peter J. Bennett wrote a check to himself from
                the Water Buffalo Irrevocable Trust account, deposited the check into his
                Peter J. Bennett, P.O. account (JPMorgan account ending in 3670), and then
                wrote a check in the same amount payable to Company 1 from his PC
                  account, as follows:
                                                                          Depositing
                                                     Bank/Acct or
                  Date Amount Originatin Bank/Acct Destination

                  5/17/17 $3,893.00 JPMorgan/2321                         JPMorgan/3670
                  5/17/17 $3,893.00 JPMorgan/3670                         Check #5788


             c.   On or about February 8, 2017, Peter J. Bennett withdrew funds from the
                  Water Buffalo In-evocable Trust account to purchase a cashier s check from
                  JPMorgan payable to Company 2, a luxury automobile dealership in
                  Houston, Texas, for the purchase of a 2014 Mercedes E350 titled in the
                  name of Robert O Neal, as follows:

                  Date          Amount Ori inatin Bank/Acct Destination

                  2/8/17        $32,027.28    JPMorgan/2321               JPMorgan
                                                                          CC#9534508392

                  2/8/17        $32,027.28    JPMorgan                    Company 2
                                              CC#9534508392

             d. On or about December 6, 2017, Peter J. Bennett transmitted money from
                  the Water Buffalo Irrevocable Trust account and from the Tigerlilly
                  Irrevocable Trust account through other financial accounts, including his
                  personal bank account (JPMorgan account ending in 5563) and his Peter J.
                  Bennett, P.C. account, to Company 3, a company based in The Woodlands,
                  Texas, in order to pay a settlement for the benefit of Robert O’Neal, as
                  follows:

                                                                          Depositing
                                                                          Bank/Acct or
                  Date Amount                 Originating Bank/Acct       Destination

                  12/6/17 $55,000.00          JPMorgan/2321               JPMorgan/5563
                  12/6/17 $120,000.00         JPMorgan/126 5              JPMorgan/5563
                  12/6/17 $150,000.00         JPMorgan/5563               JPMorgan/3670
                  12/6/17 $150,000.00         JPMorgan/3670               Wire to Company 3

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             e. On or about May 8, 2018, Peter J. Bennett transmitted money from the
                Water Buffalo Irrevocable Trust account and from the Tigerlilly Irrevocable
                Trust account through other financial accounts, including his personal bank
                account and his Peter J. Bennett, P.O. IOLTA trust account (JPMorgan
                account ending in 4037), to Company 3, in order to pay a settlement for the
                benefit of Robert O Neal, as follows:

                 5/8/18       $50,000.00     JPMorgan/2321             JPMorgan/5563
                 5/8/18       $100,000.00    JPMorgan/126 5            JPMorgan/5563
                 5/8/18       $150,000.00    JPMorgan/5563             JPMorgan/4037
                 5/8/18       $150,000.00    JPMorgan/4037             Wire to Company 3

         24. Peter J. Bennett transmitted money at the direction of Stephen Kash, as

  follows:

             a. On or about December 30, 2016, and on or about December 29, 2017,
                 Peter J. Bennett wrote checks totaling $130,000.00 from the Tigerlilly
                Irrevocable Trust account to Entity 1, a church in Beaumont, Texas, as
                 follows:

                 Date Amount Originatin Bank/Acct Transaction Type

                 12/30/16 $66,000.00 JPMorgan/1265                     Check #9991
                 12/29/17 $64,000.00 JPMorgan/1265                     Check #104

             b. On or about November 10, 2017, Peter J. Bennett wrote a $16,000 check
                 from the Tigerlilly Irrevocable Trust account to Company 4, a contractor in
                 Beaumont, Texas, for a construction project on Stephen Kash s property.

             c. On or about April 30, 2018, Peter J. Bennett withdrew $99,064.02 from
                the Tigerlilly Irrevocable Trust account in order to purchase a cashier s
                 check payable to Company 5, a title company in Chambers County, Texas,
                 for the purchase of 525 Sth Street, Winnie, Texas 77665.

             d. On or about May 1, 2018, Peter J. Bennett withdrew $10,000 in cash from
                the Tigerlilly Irrevocable Trust account and provided it to Stephen Kash.

          All in violation of 18 U.S.C. § 371.




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                                            COUNT 3

                                                           Violatio : 18 U.S.C. § 1621
                                                           (Perjury)

         1. On or about December 17, 2019, in the Eastern District of Texas, the

  defendant, Peter J. Be nett, having duly taken an oath, before Tramy T. Vo, a notary

  public in the State of Texas, during an investigation duly authorized by the United States

  Department of Justice (the Department), a case in which 31 U.S.C. § 3733 authorizes an

  oath to be administered, that he would testify, declare, depose, and certify truly, and that

  any written testimony, declaration, deposition, or certificate by him subscribed, is true,

  did willfully and knowingly and contrary to said oath state and subscribe material matter

  which he did not believe to be true, that is to say:

         2. At the time and place aforesaid the Department was conducting an

  investigation into the practices and financial arrangements of laboratories and hospitals,

  and their executives, employees, and recruiters, as well as affiliated physicians, to

  determine whether the individuals and entities had violated the False Claims Act (FCA),

  31 U.S.C. §§ 3729-33. It was material to the aforesaid investigation to determine which

  persons, if any, provided services to Tigerlily LLC, as well as the nature of the services

  and the time period thereof.

         3. At the time and place aforesaid in paragraph 1, Peter J. Bennett, being

  under oath as aforesaid, stated and subscribed in a certificate, falsely in written answers

  to interrogatories propounded in Civil Investigative Demand No. 19-31 by the

  Department with respect to the aforesaid material matter as follows:


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          Q. 1. Identify, for Tigerlify LLC: d. Each Perso who provided services to
         Tigerlily LLC, and describe the services provided and the time period
         thereof. A. W.T.H. provided consulting services to Tigerlily LLC from
         May 1, 2016 through December 31, 2017.

         4. The aforesaid statement of Peter J. Bennett, subscribed in a written

   certificate by him, as he then and there well knew and believed, was false in that W.T.H.

   did not provide consulting services to Tigerlily LLC. Rather, W.T.H. paid Tigerlilly

  Irrevocable Trust through APC and BenefitPro for consulting services Tigerlily LLC

  purportedly provided to APC and BenefitPro.

         All in violation of 18U.S.C. § 1621.




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                                            COUNT 4

                                                            Violation: 18 U.S.C. § 1621
                                                            (Perjury)

         1. On or about December 17,2019, in the Eastern District of Texas, the

  defendant, Peter J. Bennett, having duly taken an oath, before Tramy T. Vo, a notary

  public in the State of Texas, during an investigation duly authorized by the United States

  Department of Justice, a case in which 31 U.S.C. § 3733 authorizes an oath to be

  administered, that he would testify, declare, depose, and certify truly, and that any written

  testimony, declaration, deposition, or certificate by him subscribed, is true, did willfully

  and knowingly and contrary to said oath state and subscribe material matter which he did

  not believe to be true, that is to say:

         2. At the time and place aforesaid the Department was conducting an

  investigation into the practices and financial arrangements of laboratories and hospitals,

  and their executives, employees, and recruiters, as well as affiliated physicians, to

  determine whether the individuals and entities had violated the False Claims Act (FCA),

  31 U.S.C. §§ 3729-33. It was material to the aforesaid investigation to determine which

  persons, if any, provided services to Tree Pool LLC, as well as the nature of the services

  and the time period thereof.

         3. At the time and place aforesaid in paragraph 1, Peter J. Bennett, being

  under oath as aforesaid, stated and subscribed in a certificate, falsely in written answers

  to interrogatories propounded in Civil Investigative Demand No. 19-32 by the

  Department with respect to the aforesaid material matter as follows:


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          Q. 1. Identify, for Tree Pool LLC: d. Each Person who provided services
         to Tree Pool LLC, and describe the services provided and the time period
         thereof. A. W.T.H. provided consulting services to Tree Pool LLC from
         May 1, 2016 through December 31, 2017.

         4. The aforesaid statement of Peter J. Bennett, subscribed in a written

  certificate by him, as he then and there well knew and believed, was false in that W.T.H.

  did not provide consulting services to Tree Pool LLC. Rather, W.T.H. paid Tree Pool

  LLC through APC and BenefitPro for consulting services Tree Pool LLC purportedly

  provided to APC and BenefitPro.

         All in violation of 18 U.S.C. § 1621.




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                  NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
                                 Pursuant to 18 U.S.C. § 982(a)(1)

          1. The allegations contained in Counts 1 and 2 of this Indictment are realleged

   and incorporated by reference as though folly set forth herein for the purpose of alleging

   forfeiture to the United States of America of certain property in which the defendant has

   an interest.


          2. Upon conviction of any violation of 18 U.S.C. §§ 1956, 1957, or 1960, the

   defendant, Peter J. Bennett, shall forfeit to the United States any property, real or

  personal, involved in such offense, or any property traceable to such property, pursuant to

   18 U.S.C. § 982(a)(1).

          3. The property which is subject to forfeiture, includes but is not limited to the

  following:

                   A sum of money equal to $2,724,080.41 in United States currency,
                   representing the amount of property involved in the offense alleged
                   in the indictment, for which the defendant is personally liable.

          4. Pursuant to 21 U.S.C. § 853(p), as incorporated by reference by 18 U.S.C. §

  982(b), if any of the forfeitable property, or any portion thereof, as a result of any act or

  omission of the defendant:

                   a. Cannot be located upon the exercise of due diligence;

                   b. Has been transferred, or sold to, or deposited with a third party;

                   c. Has been placed beyond the jurisdiction of the Court;

                   d. Has been substantially diminished in value; or

                   e. Has been commingled with other property which cannot be subdivided

                      without difficulty;
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  it is the intent of the United States to seek the forfeiture of other property of the defendant

  up to the value of the above-described forfeitable properties, including, but not limited to,

  any identifiable property in the name of the defendant, Peter J. Bennett.

         5. By virtue of the commission of the offenses alleged in this indictment, any

  and all interest the defendant has in the above-described property is vested in the United

  States and hereby forfeited to the United States pursuant to 18 U.S.C. § 982(a)(1).

         All pursuant to 18 U.S.C. § 982(a)(1) and the procedures set forth at 21 U.S.C. §

  853, as made applicable through 18 U.S.C. § 982(b)(1).

                                                            A TRUE BILL



                                                                      JURY FOREPERSON



                                                            Date



  BRIT FEATHERSTON
  UNITED STATES ATTORNEY


  NATHANIEL C. KUMMERFELD
  ASSISTANT UNITED STATES ATTORNEY




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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

  UNITED STATES OF AMERICA §
                                            § No. 6:22-CR-22
  V.                                        § JUDGE JDK/JDL
                                            9£
  PETER J. BENNETT (01)                     §
                                NOTICE OF PENALTY

                                       COUNT 1

  VIOLATION:                       18U.S.C. § 1956(h)
                                  Conspiracy to Commit Money Laundering

  PENALTY:                        Imprisonment of not more than twenty (20) years; the
                                  greater of a fine not to exceed $500,000 or twice the
                                  value of the monetary instrument or funds involved in
                                  the transportation, transmission, or transfer, whichever
                                  is greater, or both such imprisomnent and fine; and a
                                  term of supervised release of not more than three (3)
                                  years.


  SPECIAL ASSESSMENT:             $100.00

                                       COUNT 2

  VIOLATION:                      18U.S.C. § 371
                                  Conspiracy to Operate an Unlicensed Money
                                  Transmitting Business

  PENALTY:                        Imprisomnent of not more than five (5) years; the
                                  greater of a fine not to exceed $250,000, a fine not to
                                  exceed two times the gross gain to the Defendant, or a
                                  fine not to exceed two times the loss to the victim, or
                                  both such imprisonment and fine; and a term of
                                  supervised release of not more than three (3) years.

  SPECIAL ASSESSMENT:             $100.00


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                                   COUNTS 3-4

  VIOLATION:                    18U.S.C. § 1621
                                Perjury

  PENALTY:                      Imprisonment of not more than five (5) years; the
                                greater of a fine not to exceed $250,000, a fine not to
                                exceed two times the gross gain to the Defendant, or a
                                fine not to exceed two times the loss to the victim, or
                                both such imprisonment and fine; and a term of
                                supervised release of not more than three (3) years.

   SPECIAL ASSESSMENT:          $100.00 each count




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